    Case 23-11781-amc             Doc 26    Filed 03/29/24 Entered 03/29/24 12:03:53               Desc Notice
                                            of Hearing Page 1 of 1

                       UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF PENNSYLVANIA

In Re: Angelo Irizarry, Jr. and
Katherine A Klein
         Debtor(s)                                     Case No: 23−11781−amc
                                                       Chapter: 7


                                  NOTICE OF HEARING

                            To the debtor, the debtor's counsel, and any party in interest:

                     NOTICE is hereby given that a hearing will be held before the Honorable
                        Ashely M. Chan , United States Bankruptcy Judge to consider:

                         Motion to Reopen Chapter 7 Case and direct appointment of
                         trustee. Fee Amount $260.00 Filed by United States Trustee
                         Represented by KEVIN P. CALLAHAN

                                   on: 4/17/24

                                   at: 11:00 AM
                                   in: Courtroom #4, 900 Market Street, Philadelphia, PA
                                   19107

                                                                                   For The Court
Date: 3/29/24                                                                      Timothy B. McGrath
                                                                                   Clerk of Court




                                                                                                              26 − 23
                                                                                                            Form 167
